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                                        November 22, 2019


VIA CM/ECF
The Honorable Maryellen Noreika
United States District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801

       Re:     Biogen International GmbH et al. v. Amneal Pharmaceuticals LLC, et al.,
               C.A. No. 17-823-MN (Consolidated)

Dear Judge Noreika:

       We represent Defendants MSN Laboratories Private Ltd., MSN Pharmaceuticals Inc.,
Sandoz Inc., Prinston Pharmaceutical Inc., and Zydus Pharmaceuticals (USA) Inc. in the above-
captioned action. We write on behalf of all Defendants to request that Defendants’ expert witness,
Dr. Wee Yong, be allowed to testify at trial immediately after the parties’ opening statements on
December 9. Plaintiffs do not object to Defendants’ request.

         In the Court’s Oral Order (D.I. 334), the Court ordered that the parties’ opening statements
take place on December 6 at 12:00 PM and that the remainder of trial take place on December 9,
11, 12, and 13. Defendants respectfully request that the Court permit Dr. Yong to testify on
December 6 after the parties’ opening statements. Although Dr. Yong has professional
commitments during the weeks of December 2 and December 9, he can modify his schedule to
appear to testify on December 6. However, Dr. Yong has an immovable conflict hosting as co-chair
a national conference on multiple sclerosis in Calgary, Canada from December 9-11, which makes
it difficult for him to testify the week of December 9.

        Defendants anticipate that Dr. Yong’s testimony can be completed in approximately two-
and-a-half hours. Defendants look forward to discussing the best way to address this scheduling
issue at the pretrial conference.
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       Thank you for the Court’s attention to this request.

                                                     Respectfully submitted,

                                                     /s/ John C. Phillips, Jr.

                                                     John C. Phillips, Jr. (No. 110)

cc: All Counsel of Record (via electronic mail)
